FILED
CHARLOTTE, NC

WESTERN DISTRICT OF NORTH CAROLINA __ JAN 14 2021
SPECIAL CONDITIONS 7 US DISTRICT COURT
(SUPERVISED RELEASE AND PROBATION): — WESTERN DISTRICT OF Ne

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The defendant shall participate in a mental health evaluation and treatment program and
follow the rules and regulations of that program, The probation officer, in consultation with
the treatment provider, will supervise the defendant's participation in the program
(including, but not limited to provider, location, modality, duration, and intensity). The
defendant shall take all mental health medications as prescribed by a licensed health care
practitioner.

The defendant shall not engage in an occupation, business, profession, or volunteer activity
that would require or enable the defendant to without the prior
approval of the probation officer.

_ The defendant shall not communicate, or otherwise interact, with any known member of
the gang, without first obtaining permission of the probation officer.

The defendant shall not communicate, or otherwise interact, with ;
either directly or through someone else, without first obtaining the permission of the
probation officer. ,

. The defendant shali not enter [name of neighborhood. city, county. subdivision, park.
or other geographic entity with clearly defined boundary] without first obtaining the
permission of the probation officer.

The defendant shall not enter any [har tavern. ete.) without first obtaining the permission
of the probation officer,

The defendant shall participate in a gambling addiction treatment program and follow the
rules and regulations of that program. ‘The probation officer will supervise the defendant's
participation in the program (including, but not limited to, provider, location, modality,
duration, and intensity).

| The defendant shall not engage in any form of gambling (including, but not limited to,
lotteries, on-line wagering, sports betting) and the defendant shall not enter any casino or
other establishment where gambling is the primary purpose (including, but not limited to,
horse race tracks, and off-track betting establishments).

. The defendant shall complete hours of community service. The probation officer
will supervise the participation in the program (including, but not limited to, approving the
program, agency, or location, and frequency of participation therein), The defendant shall
provide written verification of the completed hours to the probation officer.

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10, The defendant shall participate in any applicable educational services programs and follow |

the rules and regulations of such programs. Some programs may include high school
equivalency preparation, English as a Second Language classes, and other classes designed
to improve the defendant's proficiency in skills such as reading, writing, mathematics, or
computer use.

il, The defendant shall participate in any applicable vocational services programs and follow

the rules and regulations of such programs, Such a program may include job readiness
training and skills development training,

12. The defendant shall submit to home detention, with location monitoring technology, for a

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period of months and comply with its requirements as directed. During
this time, the defendant is restricted to the defendant's residence at all times except for
employment; education; religious services, medical, substance abuse or mental health
treatment; attorney visits; court appearances; court-ordered obligations; or other activities
pre- approved by the probation officer. The defendant shall maintain a telephone at the
defendant's place of residence without any "call forwarding," "Caller ID services," “call
waiting," dial-up computer modems, 1-800 long distance call block, fax machine, voice
over internet protocol (VOIP), burglar alarm or three-way calling service.

The defendant shalf submit to home incarceration, with location monitoring technology,
for a period of months and comply with its requirements as directed. During this time, the
defendant is restricted to the defendant's residence 24 hours a day except for medical
necessities and courl appearances or other activities specifically approved by the Court,
The defendant shall maintain a telephone at the defendant's place of residence without
any “call forwarding,” "Caller ID services," "call waiting/ dial-up computer modems, |-
800 long distance call block, fax machine, voice over internet protocol (VOIP), burglar
alarm or three-way calling service,

The defendant shall submit to curfew, with location monitoring technology, for a period of

months and comply with ils requirements as directed, During this time, the

defendant is restricted to the defendant's residence between and

_ The defendant shall maintain a telephone at the defendant's place of

residence without any “call forwarding,” "Caller ID services," "call waiting," dial-up

computer modems, 1-800 long distance call block, fax machine, voice over internet
protocol (VOIP), burglar alarm or three-way calling service.

The defendant shail submit to location monitoring technology fora period of months
and comply with its requirements as directed.

The defendant is to pay the cost of the location monitoring portion of this sentence not'to
exceed the daily contractual rate. Payment for the location monitoring shall be made in
accordance with the probation officer's direction,

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The defendant shall submit to a Residential Reentry Center for a period of not more than
months, with work release, at the dircction of the U.S. Probation Officer. The
defendant shall abide by all rules and regulations established by the facility until released.

The defendant shall serve a total of days of intermittent confinement. The
intermittent confinement shall be served for _ consecutive (weekends or days) at
a facility determined by the U.S. Bureau of Prisons beginning on a (day) al (time) and
ending on (day) no later than (time). The defendant shall follow the rules and regulations
of the facility.

While under supervision in the Western District of North Carolina, the defendant shall
participate in the DROPS Programs and, in response to detected illegal drug use shall be
confined in the custody of the Bureau of Prisons for a period not to exceed 30 days of
intermittent confinement, as arranged by the probation office, in the following increments
unless otherwise ordered by the Court: First Use - Two Days; Second Use - Five Days;
Third Use - Ten Days.

In accordance with established procedures provided by the Immigration and Naturalization
Act, 8 U,S.C. § 1101 et seq, the defendant, upon release from imprisonment, is to be
surrendered to a duly-authorized immigration official for deportation, As a condition of
supervised release, if ordered deported, the defendant shall remain outside the United
States unless legally authorized to reenter. If deportation should not occur or if the
defendant is allowed to reenter, the defendant shall report in person to the probation office
in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons or U.S, Immigration and Customs Enforcement Agency or return
to the United States, As a farther condition of supervised release, the defendant shall abide
by all orders and directives of the United States immigration officials.

The defendant shall allow the U.S, Probation Officer, or other designee, to instali software
designed to monitor computer activitics on any computer the defendant is authorized to
use. This may include, but is not Hmiled to, software that may record any and all activity
on computers the defendant may use, including the capture of keystrokes, application
information, internet use history, email correspondence, and chat conversations, ‘he
defendant shall pay any costs related to the monitoring of computer usage.

The defendant shall not use or have installed any programs specifically and solely designed
to encrypt data, files folders, or volumes of any media. The defendant shall, upon request,
immediately provide the probation officer with any and all passwords rcquired to access
data compressed or encrypted for storage by any software.

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23, The defendant shall provide a complete record of all computer use information including,
but not limited to, all passwords, internet service providers, email addresses, email
accounts, screen names (past and present) lo the probation officer and shall not make any
changes without the prior approval of the U.S. Probation Officer.

24, The defendant shall not view or possess any "visual depiction" (as defined in 18 U.S.C, §
2256) including any photograph, film, video, picture, or computer or computer-generated
image or picture, whether made or produced by electronic, mechanical, or other means, of
"sexually explicit conduct" (as defined in 18 U.S.C. § 2256) or that would compromise the
defendant's treatment.

25, The defendant shall not possess any children's items, including, but not limited to, clothing,
toys, and games withoul permission of the U.S, Probation Officer.

The foregoing is adopted as the standard template of language to be used in the Western District
of North Carolina when these conditions, or any of them, are imposed, Any of these may be
modified in any individual case by the presiding judge at the imposition of sentence or by written
modification.

THIS {* day of January, 2021

A. SLL

Marin Reidin igor
Chief United Statés District Judge

    

 

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United States District Judge

 
  

 

Robert J. Conrad, ie
United States 7 t Judge

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Kerieth D. Bell Graham C. Mullen
United States District Judge Senior United States District Judge
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Richard L. Voorhees
Senior United States District Judge

 

 

    

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